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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

SAMA CAMP, LLC,

      Plaintiff,                           CIVIL ACTION FILE

v.                                         NO.: 1:22-cv-1722-TCB

SAMA TEA, LLC; SAMA
WORLDWIDE, INC.;
SAMA BEVERAGES, LLC; 100.CO;
JAY SHETTY; RADHI DEVLUKIA
SHETTY; KIM PERELL; and JAMES
BRENNAN

      Defendants.


                                   ORDER

      WHEREAS the Court held a hearing on October 11, 2022 on the Plaintiff’s

Motion to Dismiss Counterclaim (Dkt. 25) and Motion to Stay Discovery Pending

Resolution of the Motion to Dismiss (Dkt. 35).

      WHEREAS at the hearing the Court having considered the filings and the

oral arguments as well as determining other matters relevant to this case the Court

finds as follows:

         1. Tea Worldwide, Inc. is hereby substituted in as Defendant for

             Defendants Sama Tea, LLC; Sama Worldwide, LLC; and Sama

             Beverages, LLC and Sama Tea, LLC; Sama Worldwide, LLC; and
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